                                                    Case 3:14-cr-00380-CRB Document 252 Filed 04/21/16 Page 1 of 2



                                           1
                                           2
                                           3
                                           4
                                                                            IN THE UNITED STATES DISTRICT COURT
                                           5
                                           6                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           7
                                           8   USA,                                                No. CR 14-380 CRB
                                           9                   Plaintiff,                          ORDER DIRECTING THE
                                                                                                   GOVERNMENT TO FILE A
                                          10        v.                                             SUBMISSION REGARDING SIMILAR
                                                                                                   PROSECUTIONS
For the Northern District of California




                                          11   FEDEX CORPORATION, et al.,
    United States District Court




                                          12                   Defendants.
                                                                                         /
                                          13
                                          14             At the April 20, 2016 hearing on FedEx’s Motion to Dismiss Count Eighteen, the
                                          15   Court asked the government whether it had previously charged a defendant with promotional
                                          16   money laundering on facts similar to those at issue here:
                                          17              THE COURT: Have you ever charged that before? I mean, this prosecution
                                                          has a number of unusual -- what I guess I would call novel or first time
                                          18              advancement of legal theories. Now, I've seen, oh, 20 years and you have
                                                          too . . . but I've seen so many drug transactions in which people have sold
                                          19              drugs, received money, because that's generally what happens in a drug
                                                          transaction, and then done something with the money, if they haven't been
                                          20              caught immediately. And generally what they do is they turn it over to the
                                                          person who gave them the drugs in the first place, or some third party.
                                          21              Okay. Have you ever charged money -- promotional money laundering in
                                                          any of those cases, or is this the first one?
                                          22
                                                          MS. AULT: I don't know, your Honor.
                                          23
                                               See Hearing Transcript at 17–18. In light of this exchange, the Court ORDERS the
                                          24
                                               government to file a submission identifying the number of cases prosecuted in the last ten
                                          25
                                               years that charged a defendant with both promotional money laundering and drug
                                          26
                                               distribution in a situation where, as the government alleges here, the defendant simply
                                          27
                                               transported drugs and sent payment for the drugs back to the defendant’s co-conspirators.
                                          28
                                               //
                                               //
                                                  Case 3:14-cr-00380-CRB Document 252 Filed 04/21/16 Page 2 of 2



                                           1          The Court further ORDERS that the government identify any such cases by name in a
                                           2   filing submitted no later than Friday, April 29, 2016.
                                           3          IT IS SO ORDERED.
                                           4
                                               Dated: April 21, 2016
                                           5                                                      CHARLES R. BREYER
                                                                                                  UNITED STATES DISTRICT JUDGE
                                           6
                                           7
                                           8
                                           9
                                          10
For the Northern District of California




                                          11
    United States District Court




                                          12
                                          13
                                          14
                                          15
                                          16
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28


                                                                                              2
